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                            UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15                               WESTERN DIVISION

16
     SILVA ZAMORA,                                ) No. 2:21-CV-02182-SHK
17                                                )
18          Plaintiff,                            )
                                                  ) JUDGMENT
19
                   v.                             )
20                                                )
21   KILOLO KIJAKAZI, Acting                      )
     Commissioner of Social Security,1            )
22                                                )
23          Defendant.                            )
                                                  )
24
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26
     1
       Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021.
27   Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be
     substituted for Andrew Saul as the defendant in this suit. No further action need be taken
28   to continue this suit by reason of the last sentence of section 205(g) of the Social Security
     Act, 42 U.S.C. § 405(g).


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  1        Having approved the parties’ Stipulation to Remand Pursuant to Sentence
  2   Four of 42 U.S.C. § 405(g) and to Entry of Judgment, THE COURT ADJUDGES
  3   AND DECREES that judgment is entered for Plaintiff.
  4
  5
      DATED: 11/17/2021
  6
                                         HON. SHASHI H. KEWALRAMANI
  7                                      UNITED STATES MAGISTRATE JUDGE
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